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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In re:                                                   Case No. 8:19-bk-09605-MGW
                                                         Chapter 7
Alvaro Ramos
and Laurie Ann Ramos,

            Debtor(s).
______________________________/

  TRUSTEE’S APPLICATION TO EMPLOY REAL ESTATE AGENT AND BROKER

         Christine L. Herendeen, Chapter 7 Trustee in the above-captioned case, seeks the
authority of this court to employ a real estate agent and broker under 11 U.S.C. § 327(a) and
states as follows:
         1.      The Trustee seeks to employ a real estate agent, Naji Hassan (the “Real Estate
Agent”), and a broker, 7 Star Realty, Inc. (the “Broker”), to assist in the liquidation and sale of
the surrendered real property in the instant case. The Trustee has selected this Real Estate Agent
because he has the ability and experience to render the necessary assistance, and is familiar with
the real estate market in the area where the real property is located.
         2.      In the event of a sale, the Trustee would seek approval to pay a commission of up
to 8% of the gross sale price for any property with a gross sale price of $50,000 or greater and a
flat fee of $3,000 for any property with a gross sale price that is less than $50,000, payment of
which will be made at closing. A copy of the Listing Agreement is attached hereto as Exhibit
“A.” The real estate agent and broker will not be paid without an application to and an order
from this Court, subject to approval of the court pursuant to Section 330 of the Bankruptcy Code.
         3.      The Trustee believes it is necessary to employ a real estate agent and a broker for
these services to obtain the highest and best price, and neither the real estate agent, nor the
broker, represent an interest adverse to the Trustee of this estate on the matters upon which they
will be engaged.
         4.      To the best of the Trustee’s knowledge, the real estate agent and broker have no
connection with the debtor, creditors, any other party in interest, their respective attorneys and
accountants, or the United States Trustee, except as is disclosed in the declaration attached to and
made part of this Application. Therefore, the realtor and broker are disinterested within the
meaning of 11 U.S.C. § 101(14).

      WHEREFORE, the Trustee requests this Court authorize the employment of Naji
Hassan and 7 Star Realty, Inc. in the capacity set forth above.

                                              Respectfully submitted,

                                              /s/ Christine L. Herendeen
                                              Christine L. Herendeen, Trustee
                                              P.O. Box 152348
                                              Tampa, FL 33684
                                              (813) 438-3833
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                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the Application to Employ Real Estate Broker

was provided by electronic delivery or U.S. mail on December , 2019 to:


       U. S. Trustee, 501 E. Polk Street Suite 1200, Tampa, FL 33602

       Shawn M Yesner, Yesner Law, P.L., 2753 State Road 580 Suite 202, Clearwater, FL 33761

       Alvaro Ramos and Laurie Ramos, 1620 Curlew Road, Dunedin, FL 34698

       Naji Hassan, 7 Star Realty, Inc., 951 Atlantic Blvd., Suite 130, Jacksonville, FL 32225

                                            /s/ Christine L. Herendeen
                                            Christine L. Herendeen, Trustee
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